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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

 New Hampshire Youth Movement,

         Plaintiff,
 v.
                                                     Case No. 1:24-cv-00291-SE-TSM
 David M. Scanlan, in his official capacity as
 New Hampshire Secretary of State,

         Defendant.



PLAINTIFF’S OPPOSITION TO REPUBLICAN NATIONAL COMMITTEE AND NEW
  HAMPSHIRE REPUBLICAN STATE COMMITTEE’S MOTION TO INTERVENE

        The Court should deny the Motion to Intervene as Defendants filed by the Republican

National Committee (“RNC”) and the New Hampshire Republican State Committee (“NHRSC”).

ECF No. 15 (“Motion” or “Mot.”); ECF No. 15-1 (“Mem.”).

                                       INTRODUCTION

        This is a constitutional challenge to H.B. 1569, which will make it more difficult for many

entirely eligible and lawful New Hampshire voters to register to vote by requiring all new

registrants to provide documentary proof of citizenship when registering, with no exceptions.

Under prior law, including that which applied in the November 2024 election held just a few weeks

ago, voters who lacked such proof or did not have it with them could swear an affidavit attesting

to their citizenship. Under H.B. 1569, those voters will now be entirely unable to vote. The New

Hampshire General Court passed H.B. 1569 even though there is no evidence that any ineligible

voters have ever used a citizenship affidavit to falsely affirm their citizenship and vote—evidence

that would exist if such votes were being cast, as the names of voters affirming their citizenship

are available to state officials. The New Hampshire Youth Movement promptly filed this action
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on behalf of itself and its members and constituents whose voting rights are threatened by H.B.

1569. They seek an order declaring that the documentary proof of citizenship requirement violates

the First and Fourteenth Amendments to the U.S. Constitution and enjoining its enforcement.

       The RNC and NHRSC (“Proposed Intervenors”) now seek to intervene as defendants to

join the state’s defense, but their motion is deficient in nearly every sense. As to their application

to intervene as a matter of right under Federal Rule of Civil Procedure 24(a), Proposed Intervenors

do not identify any specific legally protectible interest that may be impaired by the disposition of

this case. They assert only a generalized interest in all New Hampshire election procedures, and

say nothing about their interest in the elimination of the citizenship affidavit specifically—the sole

subject of this case. And while Proposed Intervenors acknowledge that they must overcome a

strong presumption that the Secretary of State adequately represents their interests, they make no

showing that he does not in this case.

       For each of these reasons, Proposed Intervenors’ motion to intervene as a matter of right

under Rule 24(a) should be denied. And because Proposed Intervenors have further failed to show

that their participation will meaningfully benefit the litigation and will not delay its prompt

resolution, the Court should exercise its discretion to deny their request for permissive intervention

under Rule 24(b).

                                         BACKGROUND

       Voters are eligible to vote in New Hampshire elections if they are (a) 18 years of age, (b)

domiciled in the town or city where the individual is registering, and (c) a citizen of the United

States. See RSA 654:7, I. Voters must register before they vote, but they may register at the polling

place on election day. See Act of May 23, 1994, Ch. 154:1, I, 1994 N.H. Laws (HB 1506). First-




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time voters routinely access the franchise this way, with thousands registering to vote on election

day in every election. 1

        Under New Hampshire law before H.B. 1569, voters seeking to register could prove their

citizenship either by showing documentary proof of citizenship or by signing a qualified voter

affidavit attesting under oath that they are a U.S. citizen. Act of July 18, 2003, Ch. 289, 2003 N.H.

Laws (HB 627); see also Act of July 29, 2009, Ch. 278, 2009 N.H. Laws (HB 265). In recent

elections, many New Hampshire voters relied on such affidavits to prove their citizenship, and

there is no evidence that the system served as a vector for fraud. Just before the recent November

5th election, Secretary Scanlan reiterated that voters “should be confident that the voters on the

checklist are United States citizens.” 2 And, indeed, Plaintiffs are not aware of any evidence to the

contrary.

        Despite this successful track record, a deeply divided General Court passed H.B. 1569 on

May 23, 2024. The bill revised the state’s voter qualification statute by eliminating the ability to

use a qualified voter affidavit to meet the citizenship requirement, instead requiring all first-time

registrants to produce a birth certificate, passport, naturalization papers, or other documentation

deemed “reasonable” by an election official. RSA 659:12, I(a). As a result, qualified voters who

are unable to produce compliant citizenship documents at the time of registration will now be

entirely prevented from voting under H.B. 1569.




1
  See, e.g., Margie Cullen, Voter Scrutiny in Durham Doesn’t Change Consensus: NH Elections
Are           Secure,         Portsmouth            Herald          (Nov.          1,         2024),
https://www.seacoastonline.com/story/news/politics/elections/2024/11/01/durham-voter-
information-nh-elections-secure/75915374007/ (reporting that, in Durham alone, 3,000 residents
typically register on election day in presidential election years, driven largely by college-student
registration).
2
  Cullen, supra n.1.
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       After Governor Sununu expressed doubt about the necessity of H.B. 1569, legislative

leaders waited nearly four months to finalize the enrolled bill, ensuring that the legislation would

not take effect until after the November 5th general election if the Governor signed it into law.

Governor Sununu ultimately signed H.B. 1569 on September 12, 2024, and the law went into effect

60 days later on November 11, 2024.

       The Youth Movement filed its Complaint on September 17, five days after the Governor

signed the bill into law. See ECF No. 1. The Youth Movement asserts that H.B. 1569’s

documentary proof of citizenship requirement violates the First and Fourteenth Amendments of

the U.S. Constitution, and seeks an order declaring it unconstitutional and enjoining its

enforcement. See generally id. On November 19, Proposed Intervenors filed their Motion, in which

they claim they are entitled to intervene as a matter of right under Federal Rule of Civil Procedure

24(a) and alternatively request permissive intervention under Rule 24(b). ECF Nos. 15, 15-1

                                       LEGAL STANDARD

       To intervene as a matter of right under Federal Rule of Civil Procedure 24(a), the movant

bears the burden of showing each of the following: (1) its application is timely; (2) it has a

cognizable interest relating to the property or transaction that is the subject of the action; (3) it is

so situated that disposition of the action, as a practical matter, may impede or impair its ability to

protect that interest; and (4) its interests are inadequately represented by the existing parties to the

suit. Ungar v. Arafat, 634 F.3d 46, 50 (1st Cir. 2011). An applicant for intervention as of right

“must run the table and fulfill all four of these preconditions.” Pub. Serv. Co. of N.H. v. Patch, 136

F.3d 197, 204 (1st Cir. 1998). Failure to satisfy any one of them “dooms intervention.” Id.

       Under Rule 24(b), a district court has broad discretion to deny or allow the intervention of

a party who “has a claim or defense that shares with the main action a common question of law or



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     fact.” Fed. R. Civ. P. 24(b)(1)(B); see, e.g., T-Mobile Ne. LLC v. Town of Barnstable, 969 F.3d

     33, 42 (1st Cir. 2020).

                                              ARGUMENT

I.          Proposed Intervenors are not entitled to intervene as a matter of right.

            Proposed Intervenors have failed to satisfy their burden to show that they are entitled to

     intervene as of right under Rule 24(a). They claim general interests in (1) accurate voting

 procedures, (2) integrity of election procedures, (3) complying with the rules that govern elections,

 and (4) safeguarding their resources, but their Motion does not differentiate their interests in the

     disposition of this case from the interests of any other participant in New Hampshire’s elections.

     See Mem. 6–8. Proposed Intervenors further fail to explain how the specific relief sought by the

     Youth Movement threatens to impair those asserted interests, relying instead on unsupported

     assumptions that this Court should not credit. See id. at 9–10. Proposed Intervenors have likewise

     failed to rebut the strong presumption that the Secretary adequately represents their interests in

 this matter. See id. at 10–12. Each of these failures is alone sufficient to defeat their effort to

 intervene as a matter of right under Rule 24(a).

                a. Proposed Intervenors fail to identify any legally protectable interest that
                   would entitle them to intervention.
            An aspiring intervenor-by-right must demonstrate that their asserted interests in the

 outcome of the litigation are “direct” and “significantly protectable.” Ungar, 634 F.3d at 51

 (quoting Donaldson v. United States, 400 U.S. 517, 531 (1971)). The First Circuit, unlike some

 other federal courts of appeals, has rejected an “expansive notion of the interest” test and instead

 requires courts to reject asserted “interests that are ‘speculative, indirect, or contingent.’” Students

 for Fair Admissions, Inc. v. President & Fellows of Harvard College, 308 F.R.D. 39, 49 (D. Mass.)

 (quoting Conservation Law Found. of N.E. v. Mosbacher, 966 F.2d 39, 42 (1st Cir. 1992)), aff’d,


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807 F.3d 472 (1st Cir. 2015). Under this rubric, courts in this Circuit must refuse to grant

intervention where proposed intervenors’ asserted interests “in the outcome of [the] action” are

“generalized” or “operate at too high a level of generality.” Patch, 136 F.3d at 205 (cleaned up). 3

That is the case here.

       Proposed Intervenors claim that they are interested in “accurate voting procedures,”

maintaining the “integrity of the election process,” and “rules that govern the elections in which

they participate,” Mem. at 6–7, but each of these interests belongs to anyone who participates in

the state’s elections. As a result, even setting aside their speculative concerns regarding their

“predicted impact of this case,” Canadian Nat. Ry. Co., 272 F.R.D. at 46; see infra § I.b, their

interests fail at the outset because “undifferentiated generalized” interests simply cannot support

intervention as a matter of right under Rule 24(a) in this Circuit, Canadian Nat. Ry. Co., 272 F.R.D.

at 46 (quoting Walgreen Co. v. Feliciano de Melecio, 194 F.R.D. 23, 26 (D.P.R. 2000)); see also

Mass. Food Ass’n, 184 F.R.D. at 221 (similar).

       While Proposed Intervenors assert that “[e]lection rules affect political parties most of all,”

Mem. at 7, such a sweeping assertion—without more—does not demonstrate a direct interest in

the disposition of this case. In arguing to the contrary, Proposed Intervenors rely heavily on the

Fifth Circuit’s decision in La Union del Pueblo Entero v. Abbott (“LUPE”). Mem. at 6 (citing 29

F.4th 299, 306 (5th Cir. 2022)). But even assuming the First Circuit followed the Fifth Circuit’s

rubric in assessing asserted interests under Rule 24(a), which it does not, that case is inapposite.

There, the Fifth Circuit held that Republican committees’ expenditures on a poll watcher program




3
 See also, e.g., Mass. Food Ass’n v. Sullivan, 184 F.R.D. 217, 221 (D. Mass.), aff’d sub nom.
Mass. Food Ass’n v. Mass. Alcoholic Beverages Control Comm’n, 197 F.3d 560 (1st Cir. 1999);
Canadian Nat. Ry. Co. v. Montreal, Me. & Atl. Ry., Inc., 272 F.R.D. 44, 46 (D. Me. 2010).

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sufficed to confer a cognizable interest for purposes of intervention in a lawsuit challenging a

Texas law, S.B. 1, which had enhanced the role of partisan poll watchers in the state’s elections.

See LUPE, 29 F.4th at 305. In other words, the court’s decision turned on the Republican

committees’ showing that they invested in programs that were specifically governed by the laws

challenged in that case. See id. at 305–06. In contrast, Proposed Intervenors have not even

attempted to draw such a direct connection between their interests in complying with New

Hampshire’s “election rules” and “election integrity” generally and the specific documentary proof

of citizenship provision challenged in this case. See Mem. at 6–8.

       To be sure, in their fourth asserted interest, Proposed Intervenors aver that they “expend

significant resources’ on the election process—a process that the challenged laws ‘unquestionably

regulate.’” Mem. at 8 (quoting LUPE, 29 F.4th at 305). But the assertion that a party (political or

otherwise) spends money on the “election process” generally does not create a cognizable interest

in the operation of every aspect of the election system, and LUPE does not hold or even suggest

otherwise. See 29 F.4th at 305–06. Stated differently, Proposed Intervenors’ “theory of economic

interest [in this case] operates at too high a level of generality.” Patch, 136 F.3d at 205. Indeed,

under the Proposed Intervenors’ reasoning, any entity that spends resources on any aspect of the

election process would possess a direct interest in any action challenging any aspect of the state’s

election system.

       Nor does Issa v. Newsom, an unpublished decision from the Eastern District of California,

help the Proposed Intervenors on this point. See Mem. at 8. In that case, the district court concluded

that proposed-intervenor party committees had demonstrated an interest in preserving existing

“efforts to promote the franchise and ensure the election” of their candidates in the middle of the

COVID-19 pandemic that involved helping voters use mail voting procedures—efforts the relief


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sought in that case threatened to “disrupt.” Issa v. Newsom, No. 2:20-CV-01044-MCE-CKD, 2020

WL 3074351, at *3 (E.D. Cal. June 10, 2020) (plaintiffs sought invalidation of an executive order

requiring use of all-mail elections). Much like in LUPE, then, the proposed intervenors in Issa

identified interests in specific activities that stood to be undermined or eliminated by the relief

requested. See 2020 WL 3074351, at *3. Proposed Intervenors fail to do so here. See Mem. at 8.

       Proposed Intervenors’ reliance on Chiles v. Thornburgh, where the Eleventh Circuit

observed that, “in cases challenging various statutory schemes as unconstitutional . . . the courts

have recognized that the interests of those who are governed by those schemes are sufficient to

support intervention,” is similarly misplaced. 865 F.2d 1197, 1214 (11th Cir. 1989) (quoting 7C

C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 1908, at 285 (2d ed. 1986));

see Mem. at 7. In that case, the proposed intervenors were “detainees . . . confined in the institution

whose operation is being challenged,” and were therefore directly governed by the laws at issue,

which purported to authorize the operation of the institution in question. Chiles, 865 F.2d at 1214.

Here, while some of the Proposed Intervenors’ activities might be governed by some election laws

in New Hampshire, they simply have not explained how the documentary proof of citizenship

requirement challenged by Plaintiff governs any of their activities or even affects their asserted

interests in any way that is distinguishable from “anyone else involved in” the state’s election

processes. Mass. Food Ass’n, 184 F.R.D. at 221 (citing Patch, 136 F.3d at 205–06).

       The other out-of-circuit cases involving political-party intervention that Proposed

Intervenors cite did not involve a dispute over the impaired interest requirement at all. Specifically,

they cite Citizens United v. Gessler for the proposition that “usually no one disputes that political

parties meet the impaired interest requirement for intervention as of right,” Mem. at 7 (quoting No.

14-CV-002266-RBJ, 2014 WL 4549001, at *2 (D. Colo. Sept. 15, 2014)) (cleaned up), and


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similarly cite Ohio Democratic Party v. Blackwell for the proposition that “where changes in

voting procedures could affect candidates running as Republicans and voters who are members of

the Republican Party, there is no dispute that the Republican Party has an interest in the subject

matter of this case,” Mem. at 7–8 (quoting No. 2:04-CV-1055, 2005 WL 8162665, at *2 (S.D.

Ohio Aug. 26, 2005)) (cleaned up). While it is true that “[n]o one” in the circumstances of those

cases disputed that the proposed intervenors met “the impaired interest requirement,” the cases say

no more on the matter. Gessler, 2014 WL 4549001, at *2; see also Blackwell, 2005 WL 8162665,

at *2. And where, as here, the issue is in dispute and the movants fail to identify direct and

significant interests, courts have denied intervention. Indeed, even in circuits that apply less

stringent interest tests under Rule 24(a), courts have rejected the kind of “highly generalized”

interests in upholding election rules that Proposed Intervenors rely upon as sufficient to support

intervention. E.g., Miracle v. Hobbs, 333 F.R.D. 151, 155 (D. Ariz. 2019) (denying intervention

to Republican legislators).

       Because Proposed Intervenors have failed to identify any “direct” and “significantly

protectable” interest in the outcome of this litigation, their motion to intervene as a matter of right

under Rule 24(a) should be denied. 4

           b. Proposed Intervenors fail to show that disposition of this action, as a practical
              matter, may impede or impair their ability to protect their interests.


4
  Proposed Intervenors’ perfunctory suggestion that, “if Plaintiff has standing to bring this lawsuit,
then Movants have an interest in defending against” it, Mem. at 9, also misses the mark. As the
Youth Movement’s allegations in the Complaint show, the organization has suffered an Article III
injury because its mission of uplifting the influence of its members and constituents in their
communities and throughout the state is undermined by disenfranchisement and the other
significant burdens imposed by the documentary proof of citizenship requirement, and the
organization is accordingly being forced to divert its limited resources to combat those and other
specific harms. Compl. ¶¶ 14, 16–18. The Youth Movement further represents the interests of
those members and constituents who are or will be unable to satisfy the new requirement. See id.
¶¶ 15, 18–19. Proposed Intervenors, as explained, have done no more than identify generalized
interests in the state’s elections that lack any direct connection to the challenged provision.
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       Because Proposed Intervenors have failed to demonstrate any cognizable interest in this

lawsuit, “there can be no impairment of the[ir] ability to protect” them. Am. Ass’n of People With

Disabilities v. Herrera, 257 F.R.D. 236, 252 (D.N.M. 2008); see also, e.g., Students for Fair

Admissions, 308 F.R.D. at 49 (declining to address impairment prong where aspiring and current

students failed to demonstrate interest in outcome of action concerning affirmative action

program). Even assuming Proposed Intervenors had substantiated any such interests, however,

their Motion fails to demonstrate that this case may impair their ability to protect them. They

instead rely on generalized, speculative, and unsupported assumptions about what might happen

if Plaintiff succeeds. See, e.g., Canadian Nat. Ry. Co., 272 F.R.D. at 46 (explaining that arguments

that rely on assumptions “requir[ing] a series of events, any one of which might not happen” do

not satisfy Rule 24(a)’s impairment of interest requirement).

       Proposed Intervenors primarily argue that, if the Youth Movement succeeds, their ability

to protect their interests will suffer because such a result would “undercut” a law that “protect[s]

voters and candidates.” Mot. at 9. This assumes, however, that non-citizens will begin voting in

New Hampshire elections absent the documentary proof of citizenship requirement. See id. (stating

that “granting Plaintiff’s requested relief will harm New Hampshire’s expressed interest in

ensuring that its elections are decided by . . . United States citizens in particular”). Yet Proposed

Intervenors provide no reason to think that would be true. The relief Plaintiff seeks would only

preserve the status quo, and Proposed Intervenors provide no evidence that non-citizens have been

using the affidavit option to vote in recent New Hampshire elections. The Court of course does not

prejudge or assume the “ultimate merits” of the case at this stage, Mot. at 9 (quoting Pavek v.

Simon, No. 19-CV-3000 (SRN/DTS), 2020 WL 3960252, at *3 (D. Minn. July 12, 2020)), but the




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Court also may not accept as true speculative assumptions underlying a non-party’s claim of

interest impairment, see, e.g., Canadian Nat. Ry. Co., 272 F.R.D. at 46.

        Proposed Intervenors further suggest that their interests are threatened because an

unfavorable decision would “change the entire election landscape for [their] members and

volunteers,” thereby “chang[ing] what [they] must do to prepare for upcoming elections,” Mem.

at 9 (quoting LUPE, 29 F.4th at 307), but they again do not even explain what they might have to

“change.” See id. In fact, Proposed Intervenors would not need to change anything at all, as this

lawsuit would merely preserve the rules that governed the most recent election in New Hampshire,

which took place mere weeks ago. And LUPE gets them nowhere because, as already explained,

that decision relied on a showing that specific poll watcher programs governed by the statutes at

issue there were implicated by the relief requested. 29 F.4th at 305–06. No such circumstances are

present here. In short, because Proposed Intervenors have not made a showing that they have

cognizable interests that may be impaired by the relief Plaintiff seeks, their Motion should be

denied. 5

            c. Proposed Intervenors fail to show that they are not adequately represented.
        Proposed Intervenors’ Motion must also be denied because they have not shown that they

are inadequately represented by the existing parties. To the contrary, “two converging

presumptions” of adequate representation are “triggered because the Attorney General is prepared



5
 Proposed Intervenors assert that, “as a practical matter,” this proceeding “might be the only time
that [they] can litigate Plaintiff’s claims” because “[t]his Court’s decision could be the final word
on the laws governing the next election.” Mem. at 10 (citing Brumfield v. Dodd, 749 F.3d 339, 345
(5th Cir. 2014) and Hodgson v. UMWA, 473 F.2d 118, 130 (D.C. Cir. 1972)). But this argument
puts the cart before the horse: to have any right to participate in the litigation of “Plaintiff’s claims,”
id., Proposed Intervenors must first satisfy the requirements of Rule 24(a), which they have failed
to do. See Brumfield, 749 F.3d at 344 (concluding that proposed intervenors had “established that
their interests might be impaired by this action” before assessing “practical” timing
considerations); Hodgson, 473 F.2d at 130 (similar).
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to defend the statute in its entirety.” Daggett v. Comm’n on Governmental Ethics & Election

Pracs., 172 F.3d 104, 111 (1st Cir. 1999). First, “adequate representation is presumed” because

“the goals of the applicants are the same as those of the . . . defendant.” Id. Specifically, Proposed

Intervenors, like the Secretary, aim to defeat Plaintiff’s claims and fend off relief. Second,

“adequate representation is presumed” because “the government in defending the validity of the

statute is presumed to be representing adequately the interests of all citizens who support the

statute.” Id.; see also Patch, 136 F.3d at 207. Proposed Intervenors are no exception.

       Proposed Intervenors acknowledge that the First Circuit applies these presumptions and

concede that, as movants, they bear the burden to rebut them. See Mem. at 10 (quoting Daggett,

172 F.3d at 111–14); see also, e.g., T-Mobile Ne. LLC v. Town of Barnstable, 969 F.3d 33, 39 (1st

Cir. 2020). Such “rebuttal requires ‘a strong affirmative showing’ that the [Secretary] is not fairly

representing the applicants’ interests.” Patch, 136 F.3d at 207 (quoting United States v. Hooker

Chemical & Plastics Corp, 749 F.2d 968, 985 (2d Cir. 1984)); see also T-Mobile Ne., 963 F.3d at

39. In particular, a “petitioner ordinarily must demonstrate adversity of interest, collusion, or

nonfeasance” to “overcome [these] presumption[s].” Moosehead Sanitary Dis. v. S.G. Phillips

Corp, 610 F.2d 49, 54 (1st Cir. 1979).

       Yet Proposed Intervenors do not even attempt to show anything of the sort. They do not

allege that their interests are adverse to the Secretary—just that they are, in some respects,

different. See Mem. at 11. Nor do they allege that Plaintiff and the Secretary are colluding. See id.

And they do not argue that the Attorney General “is refusing to present” meritorious arguments

against relief that Proposed Intervenors would raise if permitted to intervene. Daggett, 172 F.3d at

112. It does not suffice to rebut the presumptions that the Secretary represents “the public interest.”

See Mem. at 10–11. In Daggett, the First Circuit expressly held that “the general notion that the


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  Attorney General represents ‘broader’ interests at some abstract level is not enough” to rebut the

  presumption of adequate representation. 172 F.3d at 112. In short, because both presumptions

  plainly apply, and because Proposed Intervenors fail to rebut either of them—indeed, fail even to

  try—intervention of right must be denied.

II.      Proposed Intervenors’ request for permissive intervention should be denied.

         The Court should also deny Proposed Intervenors’ alternative request for permissive

  intervention under Rule 24(b). The Court has broad discretion to deny the request for permissive

  intervention. T-Mobile Ne., 969 F.3d at 42 (“The short of it is that a district court’s discretion to

  grant or deny motions for permissive intervention is very broad.” (citations omitted)). And the

  Court can consider a wide variety of factors in denying permissive intervention, including:

         the nature and extent of the intervenor’s interest, whether the intervention will
         unduly delay or prejudice the adjudication of the rights of the original parties,
         whether the applicant will benefit by the intervention, whether the intervenor’s
         interests are adequately represented by the other parties, and whether the
         intervenors will significantly contribute to the full development of the underlying
         factual issues in the suit and to the just and equitable adjudication of the legal
         questions presented.

  In re Acushnet River & New Bedford Harbor Proc. re Alleged PCB Pollution, 712 F. Supp. 1019,

  1023 (D. Mass. 1989). All factors militate against permissive intervention in this case.

         The Court should deny permissive intervention for largely the same reasons that Proposed

  Intervenors’ application for intervention as a matter of right fails—they have no more than

  undifferentiated, generalized interests that are already adequately represented by the Secretary.

  Supra § I. In fact, the Secretary’s adequate representation is alone fatal to Proposed Intervenors’

  request for permissive intervention: “The case for permissive intervention diminishes or disappears

  entirely” “where intervention as of right is decided based on the government’s adequate

  representation.” Tutein v. Daley, 43 F. Supp. 2d 113, 131 (D. Mass. 1999) (cleaned up).



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       Further, granting intervention to Proposed Intervenors would unduly delay and complicate

the adjudication of the rights of the original parties by introducing unnecessary briefing and

discovery into the litigation. Far from merely “having to prove a lawsuit [it] chose to initiate,”

Mem. at 13 (quoting Security Ins. Co. of Hartford v. Schipporeit, Inc., 69 F.3d 1377, 1381 (7th

Cir. 1995)), Plaintiffs (and the Court) will in fact have to contend with “unnecessary partisan

politics in[] an otherwise nonpartisan legal dispute,” Miracle, 333 F.R.D. at 156 (cleaned up). And

Proposed Intervenors notably do not promise that, if granted intervention, they will not seek

extensions of time or oppose scheduling orders that are assented to by the principal parties. As

such, they stand to delay the adjudication of this time-sensitive case. Because Proposed Intervenors

have not made a persuasive case that this Court should exercise its discretion to grant intervention,

the Motion should be denied.

                                         CONCLUSION

       For these reasons, the Court should deny RNC and NHRSC’s Motion to Intervene.




 Dated: December 3, 2024                           Respectfully submitted,

                                                   /s/ Steven J. Dutton
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2024, I served counsel of record by filing the
foregoing document through ECF.

                                                /s/ Steven J. Dutton
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